948 F.2d 1289
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Juliet Arline LATIMORE, Plaintiff-Appellant,v.AMERICAN STEEL FOUNDRIES, Defendant-Appellee.
    No. 91-3872.
    United States Court of Appeals, Sixth Circuit.
    Nov. 27, 1991.
    
      Before KENNEDY and BOGGS, Circuit Judges, and LIVELY, Senior Circuit Judge.
    
    ORDER
    
      1
      This matter is before the court upon consideration of the appellee's motion to dismiss.   Appellant has failed to respond.
    
    
      2
      This court lacks jurisdiction in this appeal.   Absent Fed.R.Civ.P. 54(b) certification, an order disposing of fewer than all the claims or parties involved in the action is not appealable.   Liberty Mut. Ins. Co. v. Wetzel, 424 U.S. 737, 742-45 (1976);   Solomon v. Aetna Life Ins. Co., 782 F.2d 58, 59-60 (6th Cir.1986).   No Rule 54(b) certification was made in the instant case.   The final decision of the district court has not been entered during the pendency of this appeal;  therefore, this court lacks jurisdiction.   See Gillis v. United States Dep't of HHS, 759 F.2d 565, 569 (6th Cir.1985).
    
    
      3
      Accordingly, it is ORDERED that the motion to dismiss be granted and the appeal be, and it hereby is, dismissed for lack of jurisdiction.   Rule 8(a), Rules of the Sixth Circuit.
    
    